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 5
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 6 JAMES SHAYLER
 7
                             UNITED STATES DISTRICT COURT
 8
 9                      CENTRAL DISTRICT OF CALIFORNIA

10
11 JAMES SHAYLER, an individual,            Case No.: 2:21-cv-02560-GW-E

12        Plaintiff,                        Hon. George H. Wu
13
     v.                                     NOTICE OF SETTLEMENT AND
14                                          REQUEST TO VACATE ALL
15 FOOTGOULD I, LLC, a California           CURRENTLY SET DATES
   limited liability company; and DOES
16 1-10, inclusive,                         Complaint Filed: March 24, 2021
17                                          Trial Date: None Set
        Defendants.
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                                  NOTICE OF SETTLEMENT
Case 2:21-cv-02560-GW-E Document 12 Filed 05/24/21 Page 2 of 2 Page ID #:40



 1        The Plaintiff hereby notifies the Court that a global settlement has been
 2 reached in the above-captioned case and the Parties would like to avoid any
 3 additional expense, and to further the interests of judicial economy.
 4        The plaintiff, therefore, applies to this Honorable Court to vacate all currently
 5 set dates with the expectation that the Voluntary Dismissal with prejudice, as to all
 6 parties, will be filed within 45 days.
 7
 8
 9 Dated: May 24, 2021                            MANNING LAW, APC
10
11                                          By:   /s/ Joseph R. Manning, Jr. Esq.
                                                  Joseph R. Manning, Jr., Esq.
12                                                Attorneys for Plaintiff
13                                                James Shayler

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                                   NOTICE OF SETTLEMENT
